     Joseph R. Manning, Jr. (SBN 223381)
 1   DisabilityRights@manninglawoffice.com
 2   MANNING LAW, APC
     20062 SW Birch Street
 3   Newport Beach, CA 92660
     Tel: 949.200.8755
 4   Fax: 866.843.8308

 5   Attorneys for Plaintiff

 6   GEORGE AVALOS

 7                        UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
10    GEORGE AVALOS, an individual,       Case No.: 1:20-cv-01786-DAD-JLT
11    Plaintiff,                          Hon. Dale A. Drozd
12
      v.                                  NOTICE OF VOLUNTARY
13                                        DISMISSAL WITH PREJUDICE
14    GREENACRES FASTRIP INC., a          PURSUANT TO FEDERAL RULE OF
      California corporation; JAMIESON    CIVIL PROCEDURE 41(a)(1)(A)(i)
15    HILL COMPANY, a California
16    general partnership; and DOES 1-10, Complaint Filed: December 18, 2020
      inclusive,                          Trial Date: None
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18    Defendants.
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff George Avalos (“Plaintiff”) requests that this Court enter a dismissal with
 4   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
 5   party shall bear his or its own costs and attorneys’ expenses.
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 7                                         Respectfully submitted,
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 9    DATED: February 11, 2021             MANNING LAW, APC

10                                         By: /s/ Joseph R. Manning, Jr.
                                             Joseph R. Manning, Jr.
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                                             Attorney for Plaintiff
12                                           George Avalos
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
